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6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
7                                       AT SEATTLE
8    UNITED STATES OF AMERICA,             )                NO. CR07-29RSM
                                           )
9                          Plaintiff,      )
                                           )                ORDER GRANTING UNITED
10                    v.                   )                STATES’ APPLICATION
                                           )                FOR A PROTECTIVE ORDER
11   XUAN VAN LAM,                         )                TO MAINTAIN CUSTODY
     RAYMOND TA,                           )                OF PROPERTY
12   MAI THI NGUYEN,                       )
     DUNG THI MY CAO,                      )
13   CHIEM VAN TONG,                       )
     DAC HOANG TONG,                       )
14   THU VAN NGUYEN, and,                  )
     NGHIA TRONG HUYNH,                    )
15                                         )
                           Defendants.     )
16   _____________________________________ )
17            This matter comes before the Court upon motion of the United States for a
18   protective order, pursuant to 21 U.S.C. § 853(e)(1)(A) and 18 U.S.C. §§ 983(a)(3)(B)(ii)
19   and 983(a)(3)(C), to maintain custody of certain property named for forfeiture in the
20   Indictment filed in this matter. Having reviewed the United States’ motion, the Court
21   finds:
22            The property to which this order refers (“the property”) is as follows:
23                   1.     Approximately $2,900.00 in cash seized on or about January 22,
                            2007, at 1207 6th Avenue SW, Puyallup, Washington;
24
                     2.     Approximately $20.440.00 in cash seized on or about January 23,
25                          2007, from a safe deposit box at Washington Mutual Bank;
26                   3.     Approximately $5,000.00 in cash seized on or about January 23,
                            2007, at 3405 26th Place SE, Puyallup, Washington; and
27
                     4.     Approximately $2,530.00 in cash seized on or about January 23,
28                          2007, from Nghia Trong Huynh.
     ORDER GRANTING UNITED STATES’ APPLICATION FOR A
     PROTECTIVE ORDER TO MAINTAIN CUSTODY OF PROPERTY- 1                            UNITED STATES ATTORNEY
                                                                                    700 STEWART STREET, SUITE 5220
     CR07-29RSM U.S. v. Xuan Van Lam, et al.                                       SEATTLE, WASHINGTON 98101-1271
                                                                                            (206) 553-7970
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1           The property has been named in the Indictment in this case as subject to forfeiture.
2    The property is currently in the custody of the Drug Enforcement Administration, and is
3    subject to administrative forfeiture notice and claim proceedings under 18 U.S.C. § 983.
4           The United States is entitled to a protective order pursuant to 21 U.S.C. §
5    853(e)(1)(A) based on the fact that the property is named for forfeiture in the Indictment
6    herein which contains the allegation that, upon conviction, the property is subject to
7    forfeiture. It is therefore
8           ORDERED AND ADJUDGED:
9           1. The United States’ motion for a protective order is GRANTED.
10          2. The property identified above shall remain in the custody of the Drug
11   Enforcement Administration, pending conclusion of the criminal forfeiture proceedings
12   and further order of this Court.
13          3. The Clerk is Ordered to send copies of this Order to counsel for all parties of
14   record.
15          Dated this 26 day of _June_ 2007.
16

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18
                                                      A
                                                      RICARDO S. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
19
     Presented by:
20
       s/Richard E. Cohen
21   RICHARD E. COHEN
     Assistant United States Attorney
22   700 Stewart Street, Suite 5220
     Seattle, Washington, 98101-1271
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24
     Richard.E.Cohen@usdoj.gov
25

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     ORDER GRANTING UNITED STATES’ APPLICATION FOR A
     PROTECTIVE ORDER TO MAINTAIN CUSTODY OF PROPERTY- 2                          UNITED STATES ATTORNEY
                                                                                  700 STEWART STREET, SUITE 5220
     CR07-29RSM U.S. v. Xuan Van Lam, et al.                                     SEATTLE, WASHINGTON 98101-1271
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